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A TRADITION OF LEGAL EXCELLENCE SINCE 1938

Connell Foley LLP John P. Lacey
One Newark Center Partner
1085 Raymond Bivd., 19th Floor

Newark, New Jersey 07102

P 973.436.5800 F 973.436.5801

June 19, 2019

Via Electronic Filing

Honorable Michael A. Shipp, U.S.M.J.
United States District Court

District of New Jersey

M. L. King, Jr. Federal Building & Courthouse
50 Walnut Street

Newark, New Jersey 07102

Re: SEC v. Steven Fishoff, ef al.
Case No: 3:15-cv-03725 (MAS) (DEA)

Dear Judge Shipp:

This firm represents Defendant Ronald Chernin in connection with the above referenced
matter. Enclosed please find a copy of Mr. Chernin’s letter to Your Honor.

We thank the Court for its consideration and are available should Your Honor or your
staff have any questions or need anything further.

Respectfully submitted,

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JPL/dxm

Enclosure
CC: All Counsel of Record (w/enclosure; via ECF)

 

Roseland Jersey City Newark New York Cherry Hill Philadelphia
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John P. Lacey

 

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From: Ron Chernin <rhchernin@hotmail.com>
Sent: Monday, June 17, 2019 7:49 PM
To: John P. Lacey
Subject: Letter

Honorable Michael A. Shipp
United States District Judge
US District Court

Trenton, New Jersey

Re: USA v. Chernin
| appreciate this opportunity to express my feelings regarding the unlawful conduct that ! engaged in with the other defendants,

1 Knowingly acted in an illegal conspiracy which resulted in illegal profits and clearly had a detrimental effect on the integrity of the securities industry. For
this illegal conduct, | accept full responsibility and have total remorse for my actions.

There were a number of personal reasons why | initially participated in the criminal conspiracy. However, I'd prefer not to discuss the reasons in this
letter, since | don't want the inference that 1 am creating excuses for what [ did. | do not in any way whatsoever want to appear to deftect my
responsibility for my behavior. | knowingly and willing committed the crimes to which | pled guilty.

In fact, on the date of my arrest on June 3, 2015 at my house, | waived my rights and spoke extensively with FBI Special Agent John Sheehy, |
answered all of his questions about the conspiracy and accepted full responsibility for my participation. Thereafter, over the next couple of years, |

met and cooperated with the US Attorney and the SEC in Newark, NJ on numerous occasions, | answered each and every question about my role in
the conspiracy and provided information on matters not only that | was involved with, but any other criminal activity that | knew about that could help any
ongoing investigations. | provided them with my cell phone to assist them in their investigations.

| would, however, like to present what has happened since my arrest in June, 2015. Since my social world was tightly intertwined with ane of the
defendants (we lived within a couple miles of each other}, and literally all my friends were mutual friends of the co-defendant, | moved to Buellton,
California, a small farming community approximately 150 miles north of Los Angeles. | severed all these mutual relationships which | had prior to my
arrest because it wasn't a healthy situation. | have lived a quiet and unassuming lifestyle, making new friends with people my age (70+ years}, who
neither know my past nor are interested. | have no business or financial interests with anyone.

| have'had a lot of time to reflect on my life, the bad choices | made and hew its affected others. My daughter, my only relative and the love of my life,
hasn't spoken with me for several years. | have caused her enormous pain by my actions, which breaks my heart every day of my life. ! still am hopeful
that | will have the opportunity to talk and maybe have some relationship with her during my lifetime.

Thank yau for your time in reviewing this letter.

Respectfully,

Ron Chernin

 
